                  IN THE DISTRICT COURT OF THE UNITED STATES
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION

        UNITED STATES OF AMERICA            )
                                            )
                    vs.                     )                Docket No. 3:12-CR-239
                                            )
        KUROSH MEHR (9)                     )
        ANN TYSON MITCHELL (10)             )
        ___________________________________ )


                                                   ORDER


        THIS MATTER is before the Court on Defendant Mitchell’s Motion to Continue Trial

(Doc. No. 531). For good cause shown, the Court will GRANT the Motion and continue the trial

of this Defendant until the September 29, 2014. Previously, the Court ordered that Defendant

Mitchell and Defendant Mehr should be tried together, as the Government demonstrated that

much of the same evidence is to be presented against these defendants, and there are substantial

efficiencies in grouping these defendants together. (Doc. No. 458). Thus, The Court will also

continue the trial of Defendant Mehr until September 29, 2014. The Court has spoken with

counsel for Defendant Mehr and counsel for Defendant Mitchell; both defendants consent to this

timing of the trial.

        In making this determination, the Court has considered the requirements of 18 U.S.C. §

3161(h)(7)(A), as well as the factors in 18 U.S.C. § 3161(h)(7)(B), and finds that the ends of

justice are served by continuing this matter and that such action outweighs the interest of the

public and the defendants to a speedy trial. Notably, the Court finds that this case is so unusual or

complex that it is unreasonable to expect adequate preparation for pretrial proceedings and the

trial itself within the established time limits.




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       THEREFORE, IT IS ORDERED that the Motion (Doc. No. 531) is GRANTED and the

trial of Defendant Mehr and Defendant Mitchell is rescheduled for September 29, 2014 at 10:00

a.m. in Courtroom 2 in the Charlotte Division. Accordingly, and for the reasons stated herein,

Defendant Mitchell’s pending Motion to Sever (Doc. No. 281) is DENIED as moot.

               IT IS FURTHER ORDERED that motions to compel discovery, motions to

suppress, motions under Rules 7, 8, 12, 13, 14, 16, 18, and 41 of the Federal Rules of Criminal

Procedure, and motions in limine shall be filed no later than September 1, 2014. Responses to those

motions shall be filed no later than September 8, 2014. Reply briefs shall be filed no later than

September 15, 2014. Proposed jury instructions shall be filed no later than September 15, 2014.

      The Clerk is ordered to certify copies of this Order to the Marshals, Probation, the

Government, and the Defendants.

SO ORDERED.

 Signed: May 7, 2014




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